                                                                      (SPACE BELOW FOR FILING STAMP ONLY)
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 5          ATTORNEYS FOR     Defendant, Daljit Singh
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10                                                ********
11   UNITED STATES OF AMERICA,           )                  CASE NO.: 1:04-CR-5356 AWI
                                         )
12         Plaintiff,                    )                  STIPULATION TO SET SENTENCING
                                         )                  DATE FOR NOVEMBER 19, 2007;
13   v.                                  )                  ORDER
                                         )
14   DALJIT SINGH, TARSEM SINGH          )
     PAHAL AND JASPREET SINGH,           )
15                                       )
           Defendants.                   )
16   ____________________________________)
17                  IT IS HEREBY STIPULATED by and between defendants, Daljit Singh, Tarsem
18   Singh Pahal, Jaspreet Singh, by and through their attorneys of record, Harry M. Drandell, Richard
19   P. Berman and John Garland, respectively, and Plaintiff, United States of America, by and through
20   Assistant United States Attorney, Mark E, Cullers, that the sentencing hearing in the above-captioned
21   matter be scheduled for Monday, November 19, 2007.
22                  This continuance is jointly requested by the parties. The matter had been scheduled
23   for September 6, 2007, but was moved by the Court to November 1, 2007, as codefendants, Nijjar
24   Brothers, NB Trucking, Surinder Singhh Nijjar and Amritpal P. Singh, have been set on November
25   1, 2007, pursuant to stipulation.
26                  It is further stipulated by the parties that defendants, Daljit Singh, Tarsem Singh Pahal
27   and Jaspreet Singh, can be present and participate in the evidentiary hearing of codefendants on
28   November 1, 2007, if they so desire.
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 1                  It is further stipulated by the parties that any delay resulting from this continuance
 2   shall be excluded on the following basis:
 3                  1.     Title 18, United States Code §3161(h)(8)(A) – that the ends of justice served
 4                         by taking such action outweighs the best interest of the public and the
 5                         defendant in a speedy trial;
 6                  2.     Title 18, United States Code §3161(h)(8)(ii) – that it is unreasonable to
 7                         expect adequate preparation for pre-trial proceedings or for the trial itself
 8                         with the time limits established due to the complexity of the case.
 9                                                 Respectfully submitted,
10
11   DATED: September 7, 2007                      /s/ Harry M. Drandell
                                                   __________________________________________
12                                                 HARRY M. DRANDELL,
                                                   Attorney for Defendant, Daljit Singh
13
14   DATED: September 7, 2007                      /s/ John F. Garland
                                                   _____________________________________________
15                                                 JOHN F. GARLAND,
                                                   Attorney for Defendant, Tarsem Singh Pahal
16
17   DATED: September 7, 2007                      /s/ Richard P. Berman
                                                   _____________________________________________
18                                                 RICHARD P. BERMAN,
                                                   Attorney for Defendant, Jaspreet Singh
19
20   DATED: September 7, 2007                      /s/ Mark E. Cullers
                                                   ___________________________________________
21                                                 MARK E. CULLERS,
                                                   Attorney for Plaintiff, United States of America
22
23                                                ORDER
24   IT IS SO ORDERED.
25   Dated:     September 7, 2007                       /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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